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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:02CR419
                              )
          v.                  )
                              )
JEVAUGHN D. ERWIN,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to alter or amend judgment pursuant to Fed.R.Civ.P. 59(e) (Filing

No. 140), seeking an order altering or amending the decision of

this Court filed October 5, 2007 (Filing No. 138) which denied

defendant’s motion to vacate, set aside, or correct his sentence

(Filing No. 130).

           Without addressing whether Rule 59(e) is applicable to

an order of this Court denying a § 2255 motion, the Court has

reviewed defendant’s motion and the memorandum opinion of this

Court and finds that defendant’s motion should be denied.

Accordingly,

           IT IS ORDERED that defendant’s motion to alter or amend

judgment pursuant to Fed.R.Civ.P. 59(e) is denied.

           DATED this 30th day of October, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
